AO 399 (01/09) Waiver orthe Service or Sununons



                                      United States District Court
                                                                        for the




 m   I                        Plaiiuij/
                                                                                  Civil Action No. /;3/- CV' f ff^l -^hPV]/
                            Defertdam


                                            WAIVER OF THE SERVICE OF SUMMONS


li. I^SSrrv7<^ Scafv/r^k ^
             (Name ofthe plainlijrs ationtey      uivtprtstntedplali

        I have received yovtirequest to waive service ofa summons in this action along with a copy of the complaint,
two copies of this waiver:fonn, and a prepaid means of reUiming one signed copy of the form to you.

           I, or the entity I represent, agree to save (he expense ofserving a summons and complaint in this case.

           I understand that I, or the entity 1 representr will keep all defenses or objections to the lawsuit, the court's
jurisdiction, and the venue ofthe action, but th^ I waive any objections to the absence ofa summons orofservice.
           Ialso undek^i^?^M, ^th^n^ty [represent, must file andan answer oramodon underRule 12 within
60 days from .                                  ^ date when this ^^^wassent/6Y ^ days ifit was sent outside the
United States). IfIfail to do so, adefault judgment will be entered ag^imt mcfor me^ntity Ii;;epresent.
Date:
                                                                                                         the attorney or unrepresentedparty


         Printednameofparty waiving senfltke ofsummons                                                        Printedname




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                                           Duty to Avoid Unnecessary Expenses of Serving i Summons
         Rule4 ofihe Federa] Rules of CiviJProcedurerequires certaindefendants to cooperate insavingunnecessary expensesofservinga summons
and complaint. A defendant who is located in the UnitedStates and who fails to returna si^ed waiverof service requestedby a plaintifTlocaied in
(he United Stateswill be requiredto pay the expensesofservice,unless the defendantshows good cause for the failure.
           "Goodcause"docsnot include a belief that the lavt^uii is soundless, or that it has been broughtin an impropervenue,or that the court has
no jurisdiction over this matter or over Ae defendant or the defendant's property.

           If the waiver is signed and returned, you can still make these and all other defenses and objections, but you carmot object to the absence of
a summons or of service.

          Ifyou waive service, then you must, within the time specified on the waiver form, serve an answer or a motion under Rule 12 on the plaintifT
and nie a copy with the coun. By signing and retuming the waiver form, you are allowed more lime to respMuithan if a summons had been served.
